                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY

IN RE:

COMMUNITY MEMORIAL HOSPITAL,                                Case No. 12-20666-dob
                                                            Chapter 11 Proceeding
            Debtor.                                         Hon. Daniel S. Opperman
_____________________________________/

CMH LIQUIDATING TRUST,

         Plaintiff,

v.                                                          Adversary Proceeding
                                                            Case No. 14-2020-dob
TED ANDERSON, WILLIAM BORGERDING,
et al,
       Defendants.
_____________________________________/

      OPINION GRANTING MOTION TO DISMISS AND COMPEL ARBITRATION OF
                        DEFENDANT BARBARA CLIFF

         The Plaintiff, CMH Liquidating Trust, filed this adversary proceeding on February 27,

2014, against many Defendants. One Defendant, Barbara Cliff, was the Chief Executive Officer

(“CEO”) of the Debtor from 2005-2009. In response to the Complaint, she filed her Motion to

Dismiss and Compel Arbitration. Because Cliff’s relationship with the Debtor is governed by an

employment contract that contains an arbitration clause, the Court GRANTS Cliff’s Motion to

Dismiss and Compel Arbitration.

                                        Findings of Fact

         Debtor Community Memorial Hospital (“CMH” or “the Hospital”) was a Michigan non-

profit hospital that opened in 1942. The Hospital operated for decades before encountering

substantial financial problems in the early 2000’s. As early as 2003, the Hospital’s board began

receiving negative feedback regarding its financial situation, perceived lack of leadership, and


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growth strategy. The Hospital sustained annual operating losses from 2008-2011, eventually

commencing a Chapter 11 bankruptcy in March 2012. The cause of the Hospital’s financial

problems is the center of the dispute in this case.

         The Order Confirming First Amended Chapter 11 Plan of Liquidation (“OCP”) in CMH’s

bankruptcy vested Plaintiff with all causes of action that CMH or the unsecured creditors’

committee held against former directors or officers of the Hospital. Thus, Plaintiff filed this

adversary proceeding, naming as Defendants 36 individuals who previously were associated with

the Hospital, alleging that each Defendant was an officer or director at various times during the

period of financial struggle noted above.

         Cliff’s situation is unique among the Defendants. She served as the Hospital’s CEO

between 2005 and 2009, working per a contract that required any dispute under her employment

agreement be submitted to binding arbitration. Specifically, the employment agreement states:

      i) Arbitration; Waiver of Jury Trial.

             (1) In the event of dispute under this Agreement, the parties agree
         pursuant to MCL 600.5001, et seq., to binding arbitration in accordance with
         the Employment Disputes Rules of the American Arbitration Association
         (“AAA”) in effect at the time a demand for arbitration of the dispute is made
         and the parties further agree that the prevailing party shall be awarded its
         reasonable attorney fees, with the place of arbitration being Cheboygan,
         Michigan. The decision and award of the arbitrator made under the AAA
         rules shall be exclusive, final and binding on all parties, their heirs,
         representatives, affiliates, successors and assigns. It is further agreed that any
         arbitration award may be certified to the Cheboygan County Circuit Court
         which shall render a judgment upon the award made pursuant to said
         arbitration. In the event CEO or CMH shall require equitable relief prior to
         the selection of an arbitrator to resolve the dispute, either party may seek
         temporary equitable relief from any court having jurisdiction of the dispute,
         subject to any final relief awarded by the arbitrator.




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           (2) Limited civil discovery shall be permitted for the production of
        documents and the taking of depositions, provided, however, that no party is
        permitted to take the deposition of more than three witnesses except by
        agreement of the other party or upon order of the arbitrator pursuant to the
        motion of a party. Subject to the foregoing limitations, discovery shall be
        conducted in accordance with the Michigan Court Rules with any
        enforcement issues resolved by the arbitrator.

            (3) The arbitration and all proceedings, discovery and any award of the
        arbitrator, are confidential. Neither the parties nor the arbitrator shall
        disclose any information gained during the course of the arbitration to any
        person or entity who is not a party to the arbitration unless permitted by law.
        Attendance at the arbitration shall be limited to the parties and those called as
        witnesses.

            (4) CEO and CMH acknowledge that each has had the opportunity to
        consult with counsel of choice before signing this Agreement, and CMH and
        CEO each hereby knowingly and voluntarily, without coercion, WAIVES
        ALL RIGHTS TO TRIAL BY JURY of all disputes between them and
        instead agrees to binding arbitration.

        Plaintiff alleges the employment agreement was no longer effective when this case was

filed and claims the issues raised in the Complaint do not constitute a dispute under the

agreement. Cliff disagrees and asks this Court to enforce the arbitration clause and dismiss

Plaintiff’s claims against her.

                                            Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334, 157(a) and

E.D. Mich. LR 83.50. This is a core proceeding under 28 U.S.C. §  157(b)(2)(A) (matters

concerning the administration of the estate).

                                  Standard for Motion to Dismiss

        Federal Rule 12(b)(1) provides for dismissal of a complaint for “lack of subject matter

jurisdiction.” A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) operates

to test the sufficiency of the complaint and the court must construe the complaint in the light

most favorable to the plaintiff, accepting all well-pleaded factual allegations in the complaint as

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true. See Lewis v. ACB Bus. Servs., 135 F.3d 389, 405 (6th Cir. 1998). However, the court will

not accept conclusions of law or unwarranted inferences which are presented as factual

allegations. Blackburn v. Fisk Univ., 443 F.2d 121, 124 (6th Cir. 1974). A complaint must

contain either direct or reasonable inferential allegations that support all material elements

necessary to sustain a recovery under some viable legal theory. Lewis, 135 F.3d at 405 (internal

citations omitted).

        To determine if an arbitration agreement exists, the courts must find that the parties

agreed to arbitrate a dispute and that the grievance between the parties is arbitrable. AT & T

Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643 (1986). Courts must look at the

contractual language to determine if the parties intended to arbitrate their differences, but any

doubt should be in favor of arbitration. John Wiley & Sons, Inc. v. Livingston Steel Workers, 376

U.S. 543 (1964); Warrior & Gulf Navigation Co., 363 U.S. 574 (1960).

        When a party to an arbitration agreement fails or refuses to comply with the provisions of

an enforceable arbitration agreement, a federal court must compel arbitration. 9 U.S. Code § 4.

Accordingly, the Court lacks jurisdiction to hear a dispute that is within the confines of an

arbitration agreement.

                                            Discussion

        The Court holds that the employment agreement and the arbitration clause apply to this

case. The arbitration clause did not terminate when Cliff’s employment terminated. A finding

otherwise would defeat the purpose of including such a clause in a contract. See Zucker v. After

Six, Inc., 174 Fed.Appx. 944, 947-48 (6th Cir. 2006) (stating that if “the duty to arbitrate

automatically terminated upon expiration of the contract, a party could avoid his contractual duty

to arbitrate by simply waiting until the day after the contract expired to bring an action regarding



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a dispute that arose while the contract was in effect.”). Instead, absent clear and express intent

by the parties to limit arbitration, a court must enforce the parties’ arbitration agreement. Id. at

3. The Court sees no clear and express intent to limit arbitration here, and must enforce the

agreement before it.

        The primary case upon which Plaintiff relies, Huffman v. The Hilltop Companies, LLC,

747 F.3d 391 (6th Cir. 2014), is factually distinct. In that case, the employment agreement at

issue contained a survival clause that explicitly stated which portions of the agreement survived

its termination. Id. at 394. The survival clause in the Huffman agreement did not include the

arbitration provision, lending support to the argument that the arbitration provision did not

survive the agreement. Id. In this case, Cliff’s employment agreement contained no similar

survival clause limiting the provisions that remain in effect post-termination.            In light of

Huffman, this Court reads the omission of a specific survival clause as indicative of the

contracting parties’ intention that all provisions of the employment agreement persist beyond the

agreement terminating.

        Moreover, Huffman actually supports enforcement of the clause at issue. In Huffman, the

Sixth Circuit reiterated the “strong federal policy in favor of arbitration.” Id. at 393-94. The

Sixth Circuit also noted the presumption in favor of “post-expiration arbitration of matters unless

negated expressly or by clear implication…” Id. at 394. Neither Cliff’s employment agreement

nor any of the information before the Court indicates that the matters at issue here were “negated

expressly or by clear implication.” Accordingly, the arbitration clause in Cliff’s employment

agreement remains in effect and applies here.1



                                                            
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   The Court’s holding that post-expiration arbitration is appropriate according to applicable law makes
moot Plaintiff’s argument that the agreement expired of its own terms in 2010.          

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        The Court also holds that to the extent the allegations of Plaintiff’s Complaint could be

construed to charge Cliff with wrongful conduct, those allegations arise out of actions she took in

her capacity as a Hospital employee.         Thus, those allegations raise disputes about her

employment and, therefore, constitute disputes “under” her employment agreement. As a result,

Plaintiff is required to submit its claims against Cliff to arbitration.    The Court dismisses

Plaintiff’s Complaint as to Cliff and Orders the parties to binding arbitration per Cliff’s

employment agreement.

        Counsel for Defendant is directed to prepare and submit an order consistent with this

Opinion and the entry of orders procedures of this Court.

Signed on September 29, 2017




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